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                                                                       Rachael Peters Pugel (#032626)
                                                                   2   SNELL & WILMER L.L.P.
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                                                                   6   Attorneys for Plaintiffs
                                                                   7
                                                                   8
                                                                                             IN THE UNITED STATES DISTRICT COURT
                                                                   9
                                                                                                   FOR THE DISTRICT OF ARIZONA
                                                                  10
                                                                  11
                                                                       Dermaforce Holdings, LLC, a Delaware
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                                                                  12   limited liability company; and SkinBetter         No.
                                                                       Science, LLC, a Delaware limited liability
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                                                                  13   company,                                          COMPLAINT FOR DAMAGES,
                       Phoenix , Arizona 85004-2202




                                                                                                                         INJUNCTIVE AND OTHER
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                                                                  14                     Plaintiffs,                     RELIEF, FOR VIOLATION OF 15
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                                                                                                                         USC § 1114; 15 USC § 1125(a); AND
                                                                  15            v.                                       RELATED CLAIMS
                                                                  16   Robert Taitano and Marianne Taitano,              DEMAND FOR JURY TRIAL
                                                                       husband and wife,
                                                                  17
                                                                                         Defendants.
                                                                  18
                                                                  19            Plaintiffs DermaForce Holdings, LLC (“DermaForce”) and SkinBetter Science, LLC
                                                                  20   (collectively, “SkinBetter Science” or “Plaintiffs”), hereby assert claims against defendants,
                                                                  21   Robert Taitano and Marianne Taitano (collectively, “Defendants”), for trademark
                                                                  22   infringement in violation of the Lanham Act, 15 U.S.C. § 1114; unfair competition in
                                                                  23   violation of the Lanham Act, 15 U.S.C. § 1125(a); common law trademark infringement;
                                                                  24   common law unfair competition; and tortious interference with contractual relations and
                                                                  25   business expectancies. These claims arise from Defendants’ misappropriation of Plaintiffs’
                                                                  26   trademarks in conjunction with Defendants’ unlawful and unauthorized sale of Plaintiffs’
                                                                  27   skincare products on the Internet.
                                                                  28

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                                                                   1                             PARTIES, JURISDICTION, AND VENUE
                                                                   2            1.       Plaintiff SkinBetter Science, LLC is a limited liability company, organized
                                                                   3   under the existing laws of the State of Delaware, with its principal place of business located
                                                                   4   in Phoenix, Arizona.
                                                                   5            2.       Plaintiff DermaForce is a limited liability company, organized under the
                                                                   6   existing laws of the State of Delaware, with its principal place of business located in
                                                                   7   Phoenix, Arizona.
                                                                   8            3.       Upon information and belief, Robert Taitano is a natural person residing at
                                                                   9   14105 Foothill Ave., San Martin, CA 95046; and one of the owners and operators of the
                                                                  10   storefront “taiphoononlineventures” on www.ebay.com (“eBay”).
                                                                  11            4.       Upon information and belief, Marianne Taitano is a natural person residing at
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                                                                  12   14105 Foothill Ave., San Martin, CA 95046; and one of the owners and operators of the
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                                                                  13   storefront “taiphoononlineventures” on eBay.
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                                                                  14                     On information and belief, Robert Taitano and Marianne Taitano have at all
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                                                                                5.
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                                                                  15   material times been married to each other. On information and belief, Defendants
                                                                  16   committed all acts alleged herein on behalf of and for the benefit of the marital community.
                                                                  17            6.       The Court has jurisdiction over this action pursuant to the provisions of 28
                                                                  18   U.S.C. § 1331 and § 1338, and 28 U.S.C. § 1367. Plaintiffs’ claims are predicated on 15
                                                                  19   U.S.C. § 1114 and 15 U.S.C. § 1125(a), and related claims under state law.
                                                                  20            7.       This Court has personal jurisdiction over Defendants because they have
                                                                  21   expressly aimed tortious activities toward the state of Arizona and established minimum
                                                                  22   contacts with Arizona by, among other conduct, advertising and selling products bearing
                                                                  23   SkinBetter Science’s trademarks to consumers within Arizona through one or more highly
                                                                  24   interactive commercial websites in the regular course of business, with knowledge that
                                                                  25   Plaintiffs are located in Arizona and are being harmed by Defendants’ sales of infringing
                                                                  26   products to Arizona residents. SkinBetter Science’s claims arise out of Defendants’ sales
                                                                  27   of infringing products bearing SkinBetter Science’s trademarks to Arizona residents in the
                                                                  28   regular course of business.

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                                                                   1            8.       Venue is proper in this judicial district under, without limitation, 28 U.S.C. §
                                                                   2   1391(b), because a substantial part of the events giving rise to the claims herein occurred
                                                                   3   within this judicial district. In the alternative, venue is properly founded in this judicial
                                                                   4   district pursuant to 28 U.S.C. § 1391(c), because Defendants are subject to personal
                                                                   5   jurisdiction in this district.
                                                                   6                                     FACTUAL ALLEGATIONS
                                                                   7                                     Intellectual Property at Issue
                                                                   8            9.       SkinBetter Science develops and manufactures high-end, professional-grade
                                                                   9   skincare products and sells them exclusively through a network of authorized physician
                                                                  10   providers, all of which must be or employ a medically licensed professional (“Authorized
                                                                  11   Physician Partners”), under the brand name “SkinBetter Science.”
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                                                                  12            10.      SkinBetter Science devotes a significant amount of time, energy, and
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                                                                  13   resources toward protecting the value of its brand, products, name, and reputation. Each
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                                                                  14   SkinBetter Science product is packaged so that the SkinBetter Science brand is easily and
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                                                                  15   readily identifiable. Furthermore, each product is handled with the utmost care and
                                                                  16   precision during the packaging and transportation process. In the highly competitive skin
                                                                  17   care market, quality is a fundamental driver of the consumer’s decision to purchase a
                                                                  18   product.
                                                                  19            11.      DermaForce is a holding company that owns various trademarks that are
                                                                  20   licensed to and used by SkinBetter Science, LLC.
                                                                  21            12.      To promote and protect the SkinBetter Science brand, DermaForce owns
                                                                  22   strong, preexisting, exclusive common law and federal trademark rights in the trademarks
                                                                  23   SKINBETTER SCIENCE®, SKINBETTER®, SKINBETTER THE SCIENCE OF YOUR
                                                                  24   SKIN®, ALPHARET®, INTERFUSE®, and INVISILIFT® (collectively, the “SkinBetter
                                                                  25   Science Trademarks”).
                                                                  26            13.      These rights are embodied in, among other things, DermaForce’s United
                                                                  27   States federal trademark registrations for the word marks:
                                                                  28                     A.     SKINBETTER SCIENCE®, Registration Nos. 5,158,020 and

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                                                                   1            5,088,209, as used in connection with:
                                                                   2                           i.       “Medicated skin care preparations, namely, cleansers for skin
                                                                   3                     and wounds, skin creams for diabetics, skin moisturizers, balms and serums;
                                                                   4                     medicated cosmetics; dietary food supplements; enzyme food supplements;
                                                                   5                     food supplements; herbal supplements; mineral supplements; nutritional
                                                                   6                     supplements; vitamins; topical gels, creams and lotions for medical and
                                                                   7                     therapeutic treatment of skin conditions, namely, fine lines and wrinkles, pore
                                                                   8                     reduction, skin texture and brightening; skin care products, namely, topical
                                                                   9                     analgesics;    pharmaceutical      preparations   for   dermatological    use;
                                                                  10                     pharmaceutical preparations for use in augmentation of soft tissue, smoothing
                                                                  11                     out wrinkles and fine lines, and contouring the face; medicated skin lotions;
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                                                                  12                     medicated skin care preparations; non-prescription medicated skin care
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                                                                  13                     preparations, namely, medicated skin lotions and cream”;
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                                                                  14                          ii.       “Non-medicated skin care preparations, namely, beauty creams,
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                                                                  15                     beauty lotions, beauty masks, body and beauty care cosmetics, cosmetic
                                                                  16                     creams for skin care, non-medicated skin care preparations, skin abrasive
                                                                  17                     preparations, skin cleansers, skin cleansing lotion, skin conditioners, skin
                                                                  18                     cream, skin lighteners, skin lotions, skin moisturizer, skin soap, skin toners,
                                                                  19                     and wrinkle removing skin care preparations”; and
                                                                  20                         iii.       “On-line retail store services featuring bath and beauty
                                                                  21                     products, cosmetics, perfumes, soaps, lotions, skin care products, vitamins,
                                                                  22                     minerals,     dietary   supplements    and    nutritional   supplements    and
                                                                  23                     nonprescription medication of the skin; wholesale distributorships featuring
                                                                  24                     bath and beauty products, cosmetics, perfumes, soaps, lotions, skin care
                                                                  25                     products, vitamins, minerals, dietary supplements, nutritional supplements
                                                                  26                     and nonprescription medication for the skin; providing a website featuring
                                                                  27                     promotion and marketing information about health and wellness, namely,
                                                                  28                     providing online promotion and marketing information in the fields of bath

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                                                                   1                     and beauty products, cosmetics, perfumes, soaps, lotions, skin care products,
                                                                   2                     vitamins, minerals, dietary supplements, nutritional supplements and
                                                                   3                     nonprescription medication for the skin; providing promotion and marketing
                                                                   4                     consulting services to others in the fields of bath and beauty products,
                                                                   5                     cosmetics, perfumes, soaps, lotions, skin care products, vitamins, minerals,
                                                                   6                     nonprescription medication for the skin, dietary supplements and nutritional
                                                                   7                     supplements.”
                                                                   8                     B.          SKINBETTER,    Registration   Nos.   5,088,281,   4,543,994    and
                                                                   9            4,538,385, as used in connection with:
                                                                  10                            i.       “Non-medicated skin care preparations, namely, beauty creams,
                                                                  11                     beauty lotions, beauty masks, body and beauty care cosmetics, cosmetic
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                                                                  12                     creams for skin care, non-medicated skin care preparations, skin abrasive
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                                                                  13                     preparations, skin cleansers, skin cleansing lotion, skin conditioners, skin
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                                                                  14                     cream, skin lighteners, skin lotions, skin moisturizer, skin soap, skin toners,
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                                                                  15                     and wrinkle removing skin care preparations”;
                                                                  16                           ii.       “medicated skin care preparations, namely, cleansers for skin
                                                                  17                     and wounds, skin creams for diabetics, skin moisturizers, balms and serums;
                                                                  18                     medicated cosmetics; dietary food supplements; enzyme food supplements;
                                                                  19                     food supplements; herbal supplements; mineral supplements; nutritional
                                                                  20                     supplements; vitamins”;
                                                                  21                          iii.       “Providing a website featuring information about health and
                                                                  22                     wellness, namely, providing online information in the fields of health and
                                                                  23                     beauty as it relates to bath and beauty products, cosmetics, perfumes, soaps,
                                                                  24                     lotions, skin care products, vitamins, minerals, dietary supplements,
                                                                  25                     nutritional supplements and nonprescription medication for the skin;
                                                                  26                     Providing consulting and counseling services to others in the fields of health
                                                                  27                     and beauty as it relates to bath and beauty products, cosmetics, perfumes,
                                                                  28                     soaps, lotions, skin care products, vitamins, minerals, nonprescription

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                                                                   1                     medication for the skin, dietary supplements and nutritional supplements;
                                                                   2                     Providing online information in the fields of health and beauty”; and
                                                                   3                          iv.        “On-line retail store services featuring bath and beauty
                                                                   4                     products, cosmetics, perfumes, soaps, lotions, skin care products, vitamins,
                                                                   5                     minerals,      dietary   supplements   and   nutritional   supplements    and
                                                                   6                     nonprescription medication of the skin; Wholesale distributorships featuring
                                                                   7                     bath and beauty products, cosmetics, perfumes, soaps, lotions, skin care
                                                                   8                     products, vitamins, minerals, dietary supplements, nutritional supplements
                                                                   9                     and nonprescription medication for the skin.”
                                                                  10                     C.         SKINBETTER THE SCIENCE OF YOUR SKIN®, Registration No.
                                                                  11            4,723,001, as used in connection with:
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                                                                  12                           i.        “On-line retail store services featuring bath and beauty
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                                                                  13                     products, cosmetics, perfumes, soaps, lotions, skin care products, vitamins,
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                                                                  14                     minerals,      dietary   supplements   and   nutritional   supplements    and
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                                                                  15                     nonprescription medication of the skin; Wholesale distributorships featuring
                                                                  16                     bath and beauty products, cosmetics, perfumes, soaps, lotions, skin care
                                                                  17                     products, vitamins, minerals, dietary supplements, nutritional supplements
                                                                  18                     and nonprescription medication for the skin”; and
                                                                  19                          ii.        “Providing a website featuring information about health and
                                                                  20                     wellness, namely, providing online information in the fields of health and
                                                                  21                     beauty as it relates to bath and beauty products, cosmetics, perfumes, soaps,
                                                                  22                     lotions, skin care products, vitamins, minerals, dietary supplements,
                                                                  23                     nutritional supplements and nonprescription medication for the skin;
                                                                  24                     Providing consulting and counseling services to others in the fields of health
                                                                  25                     and beauty as it relates to bath and beauty products, cosmetics, perfumes,
                                                                  26                     soaps, lotions, skin care products, vitamins, minerals, nonprescription
                                                                  27                     medication for the skin, dietary supplements and nutritional supplements;
                                                                  28                     Providing online information in the fields of health and beauty.”

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                                                                   1                     D.         ALPHARET®, Registration Nos. 5,111,407 and 5,138,804, as used in
                                                                   2            connection with:
                                                                   3                           i.         “ Topical gel for medical and therapeutic treatment of the skin
                                                                   4                     for use in skin rejuvenation and anti-aging therapies; Topical analgesics;
                                                                   5                     Topical creams and lotions for medical and therapeutic treatment of the skin;
                                                                   6                     Pharmaceutical preparations for dermatological use; pharmaceutical
                                                                   7                     preparations for use in augmentation of soft tissue, smoothing out wrinkles
                                                                   8                     and fine lines, and contouring the face; Medicated skin lotions; Medicated
                                                                   9                     skin care preparations; Non-prescription medication of the skin, namely,
                                                                  10                     medicated skin lotions and creams for the treatment of skin and for use in skin
                                                                  11                     rejuvenation and anti-aging therapies”; and
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                                                                  12                          ii.         “Non-foaming cosmetic preparations for face and skin; Non-
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                                                                  13                     medicated skin care preparations; Non-medicated skin lotions; Cosmetics.”
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                                                                  14                     E.         INTERFUSE®, Registration No. 5,224,409, as used in connection
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                                                                  15            with:
                                                                  16                           i.         “Lotions for skin; Beauty creams; Beauty lotions; Beauty
                                                                  17                     masks; Body and beauty care cosmetics; Cleansing creams; Cosmetic creams
                                                                  18                     for skin care; Non-medicated skin care preparations; Non-medicated skin care
                                                                  19                     preparations, namely, creams, lotions, gels, toners, cleaners and peels; Skin
                                                                  20                     abrasive preparations; Skin cleansers; Skin cleansing lotion; Skin
                                                                  21                     conditioners; Skin cream; Skin lighteners; Skin lotions; Skin moisturizer;
                                                                  22                     Skin soap; Skin toners; Wrinkle removing skin care preparations; Topical gel
                                                                  23                     for medical and therapeutic treatment of the skin; Topical analgesics; Topical
                                                                  24                     creams and lotions for medical and therapeutic treatment of the skin;
                                                                  25                     Pharmaceutical preparations for dermatological use; pharmaceutical
                                                                  26                     preparations for use in augmentation of soft tissue, smoothing out wrinkles
                                                                  27                     and fine lines, and contouring the face; Medicated skin lotions; Medicated
                                                                  28                     skin care preparations; Non-prescription medication of the skin, namely,

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                                                                   1                     medicated skin lotions and creams.”
                                                                   2                     F.          INVISILIFT®, Registration No. 5,397,092, as used in connection
                                                                   3            with:
                                                                   4                           ii.         “Beauty masks; Beauty care cosmetics; Non-medicated skin
                                                                   5                     care preparations; Wrinkle removing skin care preparations; Anti-aging skin
                                                                   6                     care preparations”; and
                                                                   7                          iii.         “Topical creams for therapeutic treatment of the skin;
                                                                   8                     Medicated skin care preparations; Non-prescription medication of the skin,
                                                                   9                     namely, medicated skin creams.”
                                                                  10            14.      The registration for each of the SkinBetter Science Trademarks is valid,
                                                                  11   subsisting and in full force and effect.
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                                                                  12            15.      The registrations of SKINBETTER®, as reflected in Registration Nos.
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                                                                  13   4,543,994 and 4,538,385, are incontestable.
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                                                                  14                     By virtue of Plaintiffs’ continuous, nationwide use of SKINBETTER
                               602.382.6000




                                                                                16.
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                                                                  15   SCIENCE®, ALPHARET®, INTERFUSE®, and INVISILIFT® in interstate commerce
                                                                  16   since 2016, Plaintiffs own common law rights in these marks as used in connection with the
                                                                  17   goods and services described in Paragraph 13 of this Complaint.
                                                                  18            17.      By virtue of Plaintiffs’ continuous, nationwide use of SKINBETTER® and
                                                                  19   SKINBETTER THE SCIENCE OF YOUR SKIN® in interstate commerce since 2014,
                                                                  20   Plaintiffs own common law rights in these marks as used in connection with the goods and
                                                                  21   services described in Paragraph 13 of this Complaint.
                                                                  22            18.      SkinBetter Science, pursuant to the exclusive license granted to it by
                                                                  23   DermaForce, actively uses and markets all of the SkinBetter Science Trademarks in
                                                                  24   commerce.
                                                                  25            19.      Due to the superior quality and exclusive distribution of SkinBetter Science
                                                                  26   skincare products, and because SkinBetter Science is uniquely recognized as the source of
                                                                  27   these high quality products, the SkinBetter Science Trademarks have considerable value.
                                                                  28            20.      Plaintiffs have devoted considerable resources and efforts to protecting and

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                                                                   1   promoting the SkinBetter Science Trademarks. As a result, Plaintiffs have developed
                                                                   2   substantial goodwill and consumer recognition in the SkinBetter Science Trademarks. The
                                                                   3   SkinBetter Science Trademarks have become valuable assets that signify the origin of the
                                                                   4   high-quality products offered by Plaintiffs. The SkinBetter Science Trademarks serve as an
                                                                   5   indicator of source and quality in Plaintiffs’ markets both internationally and nationwide,
                                                                   6   including but not limited to the State of Arizona.
                                                                   7   Plaintiffs Have Implemented Strict Quality Control Procedures for Their Products to
                                                                       Protect the Value of the SkinBetter Science Trademarks and Ensure that Consumers
                                                                   8    Receive the Genuine, High-Quality Products They Expect from SkinBetter Science
                                                                   9            21.      To maintain the quality of its products and brand, SkinBetter Science
                                                                  10   exercises strict quality control over the production and distribution of its products.
                                                                  11   SkinBetter Science’s ability to implement these quality controls is essential to the integrity
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                                                                  12   and safety of the SkinBetter Science products, as well as to the value of the SkinBetter
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                                                                  13   Science Trademarks and other intellectual property.
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                                                                  14                     Among other quality control measures, SkinBetter Science skincare products
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                                                                                22.
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                                                                  15   contain a universal product code (“UPC”), batch code, and/or a date affixed to the product
                                                                  16   packaging or container, which play an important role in combating counterfeits and
                                                                  17   assisting with any recalls.
                                                                  18            23.      Such identifying information also enhances SkinBetter Science’s ability to
                                                                  19   protect against quality slippage in its genuine authorized products and is crucial to
                                                                  20   SkinBetter Science’s ability to effectuate any necessary product recalls and ensure customer
                                                                  21   safety. For these reasons, SkinBetter Science regularly monitors the market to ensure that
                                                                  22   this information is not being removed from its products.
                                                                  23
                                                                             Only Authorized Skincare Professionals Are Able to Resell SkinBetter Science
                                                                  24                                          Products

                                                                  25            24.      SkinBetter Science further exercises strict quality control over its products by
                                                                  26   limiting their sales to Authorized Physician Partners, all of which must be or employ a
                                                                  27   medically licensed professional. Authorized Physician Partners are required to provide
                                                                  28   SkinBetter Science with proof of licensure prior to approval of their accounts.

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                                                                   1            25.      SkinBetter Science’s Authorized Physician Partners are required to agree to
                                                                   2   and abide by the SkinBetter Science Authorized Physician Partner Policy. The SkinBetter
                                                                   3   Science Authorized Physician Partner Policy imposes quality control requirements and
                                                                   4   restricts the manner in which SkinBetter Science products may be marketed, sold, and
                                                                   5   administered to consumers.
                                                                   6            26.      SkinBetter Science’s Authorized Physician Partners are provided with
                                                                   7   training from SkinBetter Science’s staff, educational information, 24/7 clinical support by
                                                                   8   phone and email, and additional training opportunities relating to SkinBetter Science
                                                                   9   skincare products that are not available to the general public.
                                                                  10            27.      The SkinBetter Science’s Authorized Physician Partner Policy specifically
                                                                  11   states that Authorized Physician Partners are “not permitted to sell SkinBetter Science
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                                                                  12   products on their personal or office website or any other online store or location.” “An
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                                                                  13   Authorized Physician Partner’s resale of SkinBetter Science products to anyone other than
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                                                                  14   a patient of the same Authorized Physician Partner is prohibited. Furthermore, online sales
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                                                                  15   of SkinBetter Science products to the general public, including but not limited to selling
                                                                  16   SkinBetter Science products directly or indirectly through a physician’s website or in any
                                                                  17   other way, is strictly prohibited.”
                                                                  18            28.      In addition, Authorized Physician Partners are prohibited from facilitating or
                                                                  19   enabling in any way “any other person, company or entity to distribute, copy, reproduce, or
                                                                  20   otherwise utilize Approved Materials [e.g., photographs, images, training and promotional
                                                                  21   materials] or any of SkinBetter Science’s trademarks, copyrights, patents (Intellectual
                                                                  22   Property) without the prior written consent of SkinBetter Science.             Improper use of
                                                                  23   SkinBetter Science’s Approved Materials or Intellectual Property is strictly prohibited.”
                                                                  24            29.      SkinBetter Science prohibits the resale of its products by unauthorized sellers
                                                                  25   on the Internet because of, among other things, the potential risks to consumer safety,
                                                                  26   health, and the SkinBetter Science brand in the event SkinBetter Science skincare products
                                                                  27   are used without consulting with and receiving the support of a medically licensed
                                                                  28   Authorized Physician Partner or are not transported or stored properly.

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                                                                   1            Defendants are Illegally Selling Products Bearing the SkinBetter Science
                                                                                Trademarks and Interfering with SkinBetter Science’s Quality Controls
                                                                   2
                                                                   3            30.       Due to the customer and reputational risks associated with the sale of

                                                                   4   SkinBetter Science’s products by unauthorized Internet sellers, SkinBetter Science polices

                                                                   5   the sale of its products online.

                                                                   6            31.       Through these efforts, SkinBetter Science discovered its products being sold

                                                                   7   through the storefront “taiphoononlineventures” on eBay (operated by Defendants Robert

                                                                   8   and Marianne Taitano).

                                                                   9            32.       Defendants are not Authorized Physician Partners, are not medically licensed

                                                                  10   professionals, and are not authorized to use the SkinBetter Science Trademarks.

                                                                  11    Defendants’ Illegal Sale of Products Bearing the SkinBetter Science Trademarks on
                                                                                                            the Internet
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                                                                  12
                                                                                33.       In or around the Fall of 2017, SkinBetter Science discovered an eBay
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                                                                       storefront with the name “familytimeshop” selling SkinBetter Science products.
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                                                                  15            34.       Based on a test buy and further investigation, SkinBetter Science connected

                                                                  16   the eBay storefront “familytimeshop” to Defendant Marianne Taitano.

                                                                  17            35.       On or around October 3, 2017, SkinBetter Science, through counsel, sent a

                                                                  18   cease and desist letter to Marianne Taitano at 124 Bernal Rd San Jose, CA 95119.

                                                                  19   Sometime          thereafter, SkinBetter   Science’s    products    were   removed   from the

                                                                  20   “familytimeshop” storefront.

                                                                  21            36.       On or around September 9, 2019, SkinBetter Science discovered that the eBay

                                                                  22   storefront “taiphoononlineventures” was listing Skinbetter Science products.

                                                                  23            37.       Through    an    investigation,     SkinBetter   Science    connected    the

                                                                  24   “taiphoononlineventures” storefront to Defendants Robert and Marianne Taitano.

                                                                  25            38.       On or around, September 11, 2019, SkinBetter Science, through counsel, sent

                                                                  26   a follow-up letter to Defendants Robert and Marianne Taitano demanding that that

                                                                  27   Defendants immediately cease selling products bearing the SkinBetter Science Trademarks.

                                                                  28   The letter asserted that they were engaged in the unlawful sale of SkinBetter Science

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                                                                   1   products on the “taiphoononlineventures” storefront and advised them that they were
                                                                   2   infringing on the SkinBetter Science Trademarks, tortiously interfering with SkinBetter
                                                                   3   Science’s contracts, and causing harm to SkinBetter Science. The letter also put Defendants
                                                                   4   on notice that that they were injuring SkinBetter Science in Arizona through their illegal
                                                                   5   actions and that they would be subject to personal jurisdiction in Arizona if they continued
                                                                   6   to engage in their conduct. The letter demanded that Defendants immediately cease selling
                                                                   7   products bearing the SkinBetter Science Trademarks.
                                                                   8            39.      Defendants responded to the letter by email on September 15, 2019, but did
                                                                   9   not     remove      products    bearing    SkinBetter    Science’s    Trademarks     from    the
                                                                  10   “taiphoononlineventures” storefront or state that they intended to do so.
                                                                  11            40.      Defendants continue to sell SkinBetter Science products through the
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                                                                  12   “taiphoononlineventures” eBay storefront.
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                                                                               Defendants’ Sales of SkinBetter Science Products Are Willfully Infringing
                                                                                                   SkinBetter Science’s Trademarks
                              LAW OFFICES




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                               602.382.6000
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                                                                  15            41.      Defendants are not authorized to sell SkinBetter Science products.
                                                                  16            42.      Defendants, without Plaintiffs’ authorization, have sold, and continue to sell,
                                                                  17   products bearing the SkinBetter Science Trademarks through their storefront on eBay.
                                                                  18            43.      Upon information and belief, Defendants acquired and continue to acquire
                                                                  19   SkinBetter Science products from Authorized Physician Partners with the purpose of
                                                                  20   reselling these products on the Internet.
                                                                  21            44.      The products sold by Defendants bearing the SkinBetter Science Trademarks
                                                                  22   are not subject to SkinBetter Science’s quality controls, are not subject to SkinBetter
                                                                  23   Science’s skincare program instructions, and lack licensed skincare professional evaluation,
                                                                  24   monitoring, or clinical support—all of which are important elements of authentic SkinBetter
                                                                  25   Science products.
                                                                  26            45.      Through their unauthorized use of the SkinBetter Science Trademarks,
                                                                  27   Defendants have—and continue to—mislead, confuse, and deceive consumers into
                                                                  28   believing that they are buying genuine SkinBetter Science’s products with the same quality

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                                                                   1   controls and consumer benefits as SkinBetter Science products. But the products sold by
                                                                   2   Defendants are materially different from genuine and authentic SkinBetter Science
                                                                   3   products.
                                                                   4            46.      Despite these facts, Defendants have sold, and continue to sell, products
                                                                   5   bearing the SkinBetter Science Trademarks through their eBay storefront without
                                                                   6   SkinBetter Science’s consent.
                                                                   7            47.      Upon information and belief, through their interactive eBay storefront,
                                                                   8   Defendants have advertised and marketed infringing products bearing the SkinBetter
                                                                   9   Science Trademarks to consumers in Arizona.
                                                                  10            48.      Upon information and belief, through their interactive eBay storefront,
                                                                  11   Defendants have accepted and fulfilled orders of infringing products bearing the SkinBetter
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                                                                  12   Science Trademarks from consumers in Arizona.
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                                                                  13            49.      Upon information and belief, through their interactive eBay storefront,
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                              LAW OFFICES




                                                                  14   Defendants have shipped infringing products bearing the SkinBetter Science Trademarks
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                                    L.L.P.




                                                                  15   to Arizona through the regular course of business.
                                                                  16
                                                                         Defendants Are Tortiously Interfering with SkinBetter Science’s Agreements with
                                                                  17                           Its Authorized Physician Partners

                                                                  18            50.      Upon information and belief, Defendants have purchased SkinBetter Science
                                                                  19   Products from SkinBetter Science Authorized Physician Partners for purposes of unlawfully
                                                                  20   infringing upon and materially damaging the value of the SkinBetter Science Trademarks
                                                                  21   by reselling them on the Internet without SkinBetter Science’s approval.
                                                                  22            51.      SkinBetter Science’s agreements with its Authorized Physician Partners
                                                                  23   prevent those Authorized Physician Partners from selling SkinBetter Science Products to
                                                                  24   third parties who intend to resell the products.
                                                                  25            52.      Defendants were informed of this prohibition by at least September 11, 2019.
                                                                  26   On that date, Defendants received a cease and desist letter from SkinBetter Science that
                                                                  27   informed Defendants that the contracts between SkinBetter Science and its Authorized
                                                                  28   Physician Partners prohibit Authorized Physician Partners from selling SkinBetter Science

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                                                                   1   Products to any person or entity that intends to resell the products.
                                                                   2            53.      The September 11, 2019 cease and desist letter also informed Defendants that,
                                                                   3   by purchasing SkinBetter Science products from an Authorized Physician Partners for
                                                                   4   purposes of resale, they were causing a breach of the agreement between SkinBetter Science
                                                                   5   and its Authorized Physician Partners and interfering with SkinBetter Science’s agreements
                                                                   6   and business relationships.
                                                                   7            54.      The September 11, 2019 letter also advised Defendants that if they continued
                                                                   8   to acquire SkinBetter Science products from SkinBetter Science’s Authorized Physician
                                                                   9   Partners for purposes of reselling them, they would be liable for tortiously interfering with
                                                                  10   SkinBetter Science’s contracts and/or business relationships.
                                                                  11            55.      Despite being provided this information, upon information and belief,
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                                                                  12   Defendants have continued to acquire SkinBetter Science Products from SkinBetter
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                                                                  13   Science’s Authorized Physician Partners with the intent to resell them.
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                              LAW OFFICES




                                                                  14                     Upon information and belief, Defendants do not disclose to Authorized
                               602.382.6000




                                                                                56.
                                    L.L.P.




                                                                  15   Physician Partners that they intend to resell the SkinBetter Science Products they purchase
                                                                  16   from Authorized Physician Partners.
                                                                  17            57.      Defendants, without legal right, privilege or justification, willfully and
                                                                  18   knowingly induced and are continuing to induce unknown Authorized Physician Partners
                                                                  19   to breach their agreements with SkinBetter Science so that they can acquire SkinBetter
                                                                  20   Science Products and unlawfully infringe upon the SkinBetter Science Trademarks by
                                                                  21   reselling the products.
                                                                  22       Plaintiffs Have Suffered Significant Harm As A Result Of Defendants’ Conduct
                                                                  23            58.      As a result of Defendants’ actions, SkinBetter Science has suffered, and will
                                                                  24   continue to suffer, irreparable harm to their quality control procedures, the SkinBetter
                                                                  25   Science Trademarks, corporate goodwill, and SkinBetter Science’s contracts. SkinBetter
                                                                  26   Science has also suffered, and will continue to suffer, loss of sales.
                                                                  27            59.      SkinBetter Science has suffered, and will continue to suffer, irreparable harm
                                                                  28   as a result of Defendants’ actions, including, but not limited to, irreparable harm to their

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                                                                   1   reputation, goodwill, business and customer relationships, intellectual property rights and
                                                                   2   brand integrity.
                                                                   3            60.      Defendants’ conduct was and is knowing, intentional, willful, malicious,
                                                                   4   wanton and contrary to law.           Defendants’ continued pattern of misconduct further
                                                                   5   demonstrates intent to harm SkinBetter Science.
                                                                   6            61.      SkinBetter Science is entitled to injunctive relief because, unless enjoined by
                                                                   7   this Court, Defendants will continue to unlawfully sell SkinBetter Science skincare
                                                                   8   products, causing continued irreparable harm to SkinBetter Science’s reputation, goodwill,
                                                                   9   relationships, intellectual property and brand integrity.
                                                                  10                                     FIRST CAUSE OF ACTION
                                                                  11                                       Trademark Infringement
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                                                                  12                                 15 U.S.C. §§ 1114 and 1125(a)(1)(a)
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                                                                  13            62.      SkinBetter Science hereby incorporates the allegations contained in the
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                              LAW OFFICES




                                                                  14   foregoing Paragraphs as if fully set forth herein.
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                                                                  15            63.      DermaForce is the owner of the SkinBetter Science Trademarks.
                                                                  16            64.      SkinBetter Science has registered the SkinBetter Science Trademarks with
                                                                  17   the United States Patent and Trademark Office.
                                                                  18            65.      SkinBetter Science has common law rights in the SkinBetter Science
                                                                  19   Trademarks.
                                                                  20            66.      The SkinBetter Science Trademarks are valid and subsisting trademarks in
                                                                  21   full force and effect.
                                                                  22            67.      Plaintiffs used the SkinBetter Science Trademarks before any use thereof by
                                                                  23   Defendants.
                                                                  24            68.      One of the SkinBetter Science Trademarks, SKINBETTER®, as reflected in
                                                                  25   Registration Nos. 4,543,994 and 4,538,385, is incontestable.
                                                                  26            69.      The SkinBetter Science Trademarks are inherently distinctive and are
                                                                  27   therefore entitled to strong protection under federal trademark laws
                                                                  28            70.      Defendants at no time had a license to use the SkinBetter Science Trademarks.

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                                                                   1            71.      At no time were the SkinBetter Science Trademarks assigned to Defendants.
                                                                   2            72.      Defendants willfully and knowingly used, and continue to use, the SkinBetter
                                                                   3   Science Trademarks in commerce for purposes of selling, offering for sale, advertisement,
                                                                   4   and/or the promotion of SkinBetter Science products on the Internet without SkinBetter
                                                                   5   Science’s consent.
                                                                   6            73.      The products Defendants sell bearing the SkinBetter Science Trademarks are
                                                                   7   not authorized for sale by SkinBetter Science.
                                                                   8            74.      SkinBetter Science has established and implemented legitimate and
                                                                   9   substantial quality controls with which genuine SkinBetter Science products must comply.
                                                                  10            75.      SkinBetter Science abides by these quality controls and requires all of its
                                                                  11   Authorized Physician Partners to abide by these quality controls.
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                                                                  12            76.      SkinBetter Science’s quality controls are material, as they protect consumers
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                                                                  13   and prevent them from receiving tampered-with, damaged, expired, and poor quality
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                              LAW OFFICES




                                                                  14   products.
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                                                                  15            77.      The products Defendants sell bearing the SkinBetter Science Trademarks are
                                                                  16   not subject to, do not abide by, and interfere with, SkinBetter Science’s quality controls.
                                                                  17            78.      Because the products Defendants sell bearing the SkinBetter Science
                                                                  18   Trademarks are not subject to, do not abide by, and interfere with SkinBetter Science’s
                                                                  19   quality controls, the products Defendants sell are materially different from genuine
                                                                  20   SkinBetter Science products.
                                                                  21            79.      Because the products Defendants sell bearing the SkinBetter Science
                                                                  22   Trademarks are not subject to, do not abide by, and interfere with SkinBetter Science’s
                                                                  23   quality controls, the products Defendants sell are not genuine SkinBetter Science products.
                                                                  24            80.      Defendants’ unauthorized sale of products bearing the SkinBetter Science
                                                                  25   Trademarks interferes with SkinBetter Science’s quality controls and ability to exercise
                                                                  26   quality control over products bearing the SkinBetter Science Trademarks.
                                                                  27            81.      Defendants’ unauthorized sale of products bearing the SkinBetter Science
                                                                  28   Trademarks is likely to cause confusion, cause mistake, or deceive consumers because it

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                                                                   1   suggests that the products Defendants offer for sale are genuine SkinBetter Science products
                                                                   2   when, in fact, they are not.
                                                                   3            82.      Defendants’ unauthorized sale of products bearing the SkinBetter Science
                                                                   4   Trademarks is likely to cause confusion, cause mistake, or deceive consumers because it
                                                                   5   suggests that the products Defendants offer for sale are sponsored, authorized, or otherwise
                                                                   6   connected with SkinBetter Science when, in fact, they are not.
                                                                   7            83.      Defendants’ unauthorized use of the SkinBetter Science Trademarks has
                                                                   8   infringed upon and materially damaged the value of the SkinBetter Science Trademarks and
                                                                   9   caused significant damage to SkinBetter Science’s business relationships.
                                                                  10            84.      As a proximate result of Defendants’ actions, SkinBetter Science has
                                                                  11   suffered, and will continue to suffer immediate and irreparable harm. SkinBetter Science
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                                                                  12   has also suffered, and continues to suffer damage to its business, goodwill, reputation, and
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                                                                  13   profits in an amount to be proven at trial.
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                              LAW OFFICES




                                                                  14                     SkinBetter Science is entitled to recover its damages caused by Defendants’
                               602.382.6000




                                                                                85.
                                    L.L.P.




                                                                  15   infringement of the SkinBetter Science Trademarks and disgorge Defendants’ profits from
                                                                  16   their willfully infringing sales and unjust enrichment.
                                                                  17            86.      SkinBetter Science is entitled to injunctive relief under 15 U.S.C. § 1116
                                                                  18   because it has no adequate remedy at law for Defendants’ infringement and unless
                                                                  19   Defendants are permanently enjoined, SkinBetter Science will suffer irreparable harm.
                                                                  20            87.      SkinBetter Science is entitled to enhanced damages and attorneys’ fees under
                                                                  21   15 U.S.C. § 1117(a) because Defendants willfully, intentionally, maliciously, and in bad
                                                                  22   faith infringed on the SkinBetter Science Trademarks.
                                                                  23                                   SECOND CAUSE OF ACTION
                                                                  24                                         Unfair Competition
                                                                  25                                          15 U.S.C. § 1125(a)
                                                                  26            88.      SkinBetter Science hereby incorporates the allegations contained in the
                                                                  27   foregoing Paragraphs as if fully set forth herein.
                                                                  28            89.      DermaForce is the owner of the SkinBetter Science Trademarks.

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                                                                   1            90.      SkinBetter Science has registered the SkinBetter Science Trademarks with
                                                                   2   the United States Patent and Trademark Office.
                                                                   3            91.      SkinBetter Science has common law rights in the SkinBetter Science
                                                                   4   Trademarks.
                                                                   5            92.      The SkinBetter Science Trademarks are valid and subsisting trademarks in
                                                                   6   full force and effect.
                                                                   7            93.      Plaintiffs used the SkinBetter Science Trademarks before any use thereof by
                                                                   8   Defendants.
                                                                   9            94.      Defendants at no time had a license to use the SkinBetter Science Trademarks.
                                                                  10            95.      At no time were the SkinBetter Science Trademarks assigned to Defendants.
                                                                  11            96.      Defendants have willfully and knowingly used, and continue to use, the
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                                                                  12   SkinBetter Science Trademarks in interstate commerce for purposes of selling, offering for
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                                                                  13   sale, advertising, and/or promoting the SkinBetter Science products without SkinBetter
                       Phoenix , Arizona 85004-2202
                              LAW OFFICES




                                                                  14   Science’s consent.
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                                    L.L.P.




                                                                  15            97.      The products Defendants sell and advertise bearing the SkinBetter Science
                                                                  16   Trademarks are not authorized for sale by SkinBetter Science.
                                                                  17            98.      SkinBetter Science has established and implemented legitimate and
                                                                  18   substantial quality controls with which genuine SkinBetter Science products must comply.
                                                                  19            99.      SkinBetter Science abides by these quality controls and requires all of its
                                                                  20   Authorized Physician Partners to abide by these quality controls.
                                                                  21            100.     SkinBetter Science’s quality controls are material, as they protect consumers
                                                                  22   and prevent them from receiving tampered-with, damaged, expired, and poor quality
                                                                  23   products.
                                                                  24            101.     The products Defendants sell and advertise bearing the SkinBetter Science
                                                                  25   Trademarks are not subject to, do not abide by, and interfere with SkinBetter Science’s
                                                                  26   quality controls and customer service requirements.
                                                                  27            102.     Because the products Defendants sell and advertise bearing the SkinBetter
                                                                  28   Science Trademarks are not subject to, do not abide by, and interfere with SkinBetter

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                                                                   1   Science’s quality controls and customer service requirements, the products Defendants sell
                                                                   2   are materially different from genuine SkinBetter Science products.
                                                                   3            103.     Because the products Defendants sell and advertise bearing the SkinBetter
                                                                   4   Science Trademarks are not subject to, do not abide by, and interfere with SkinBetter
                                                                   5   Science’s quality controls and customer service requirements, the products Defendants sell
                                                                   6   are not genuine SkinBetter Science products.
                                                                   7            104.     Defendants’ unauthorized sale and advertisement of products bearing the
                                                                   8   SkinBetter Science Trademarks interferes with SkinBetter Science’s quality controls and
                                                                   9   ability to exercise quality control over products bearing the SkinBetter Science Trademarks.
                                                                  10            105.     Defendants’ unauthorized sale and advertisement of products bearing the
                                                                  11   SkinBetter Science Trademarks is likely to cause confusion, cause mistake, or deceive
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                                                                  12   consumers because it suggests that the products Defendants offer are subject to and abide
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                                                                  13   by SkinBetter Science’s quality controls when, in fact, they do not.
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                              LAW OFFICES




                                                                  14                     Defendants’ unauthorized sale and advertisement of products bearing the
                               602.382.6000




                                                                                106.
                                    L.L.P.




                                                                  15   SkinBetter Science Trademarks is likely to cause confusion, cause mistake, or deceive
                                                                  16   consumers because it suggests that the products Defendants offer for sale are genuine
                                                                  17   SkinBetter Science products when, in fact, they are not.
                                                                  18            107.     Defendants’ unauthorized sale and advertisement of products bearing the
                                                                  19   SkinBetter Science Trademarks is likely to cause confusion, cause mistake, or deceive
                                                                  20   consumers because it suggests that the products Defendants offer for sale are sponsored by,
                                                                  21   authorized by, or otherwise connected with SkinBetter Science when, in fact, they are not.
                                                                  22            108.     Defendants’ unauthorized use of the SkinBetter Science Trademarks has
                                                                  23   infringed upon and materially damaged the value of the SkinBetter Science Trademarks and
                                                                  24   caused significant damage to SkinBetter Science’s business relationships.
                                                                  25            109.     As a proximate result of Defendants’ actions, SkinBetter Science has
                                                                  26   suffered, and will continue to suffer, damage to its business, goodwill, reputation, and
                                                                  27   profits in an amount to be proven at trial.
                                                                  28            110.     SkinBetter Science is entitled to recover its damages caused by Defendants’

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                                                                   1   infringement of the SkinBetter Science Trademarks and disgorge Defendants’ profits from
                                                                   2   their willfully infringing sales and unjust enrichment.
                                                                   3            111.     SkinBetter Science is entitled to injunctive relief under 15 U.S.C. § 1116
                                                                   4   because it has no adequate remedy at law for Defendants’ infringement and unless
                                                                   5   Defendants are permanently enjoined, SkinBetter Science will suffer irreparable harm.
                                                                   6            112.     SkinBetter Science is entitled to enhanced damages and attorneys’ fees under
                                                                   7   15 U.S.C. § 117(a) because Defendants willfully, intentionally, maliciously, and in bad faith
                                                                   8   infringed on the SkinBetter Science Trademarks.
                                                                   9                                    THIRD CAUSE OF ACTION
                                                                  10                               Common Law Trademark Infringement
                                                                  11            113.     SkinBetter Science hereby incorporates the allegations contained in the
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                                                                  12   foregoing Paragraphs as if fully set forth herein.
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                                                                  13            114.     DermaForce is the owner of the SkinBetter Science Trademarks.
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                              LAW OFFICES




                                                                  14                     SkinBetter Science has registered the SkinBetter Science Trademarks with
                               602.382.6000




                                                                                115.
                                    L.L.P.




                                                                  15   the United States Patent and Trademark Office.
                                                                  16            116.     The SkinBetter Science Trademarks are valid and subsisting trademarks in
                                                                  17   full force and effect.
                                                                  18            117.     Plaintiffs used the SkinBetter Science Trademarks before any use thereof by
                                                                  19   Defendants.
                                                                  20            118.     The SkinBetter Science Trademarks are distinctive and widely recognized by
                                                                  21   the consuming public. SkinBetter Science products are sold and purchased through its
                                                                  22   Authorized Physician Partners throughout the United States, including Arizona.
                                                                  23            119.     SkinBetter Science is widely recognized as the designated source of goods
                                                                  24   bearing the SkinBetter Science Trademarks.
                                                                  25            120.     Defendants at no time had a license to use the SkinBetter Science Trademarks.
                                                                  26            121.     At no time were the SkinBetter Science Trademarks assigned to Defendants.
                                                                  27            122.     Defendants willfully and knowingly used, and continue to use, the SkinBetter
                                                                  28   Science Trademarks in commerce, including in Arizona, for purposes of selling SkinBetter

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                                                                   1   Science products on the Internet without SkinBetter Science’s consent.
                                                                   2            123.     The products Defendants sell bearing the SkinBetter Science Trademarks are
                                                                   3   not authorized for sale by SkinBetter Science.
                                                                   4            124.     SkinBetter Science has established and implemented legitimate and
                                                                   5   substantial quality controls with which genuine SkinBetter Science products must comply.
                                                                   6            125.     SkinBetter Science abides by these quality controls and requires all of its
                                                                   7   Authorized Physician Partners to abide by the quality controls.
                                                                   8            126.     SkinBetter Science’s quality controls are material, as they protect consumers
                                                                   9   and prevent them from receiving tampered-with, damaged, expired, and poor quality
                                                                  10   products.
                                                                  11            127.     The products Defendants sell bearing the SkinBetter Science Trademarks are
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                                                                  12   not subject to, do not abide by, and interfere with SkinBetter Science’s quality controls.
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                                                                  13            128.     Because the products Defendants sell bearing the SkinBetter Science
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                              LAW OFFICES




                                                                  14   Trademarks are not subject to, do not abide by, and interfere with SkinBetter Science’s
                               602.382.6000
                                    L.L.P.




                                                                  15   quality controls, the products Defendants sell are materially different from genuine
                                                                  16   SkinBetter Science products.
                                                                  17            129.     Because the products Defendants sell bearing the SkinBetter Science
                                                                  18   Trademarks are not subject to, do not abide by, and interfere with SkinBetter Science’s
                                                                  19   quality controls, the products Defendants sell are not genuine SkinBetter Science products.
                                                                  20            130.     Defendants’ unauthorized sale of products bearing the SkinBetter Science
                                                                  21   Trademarks interferes with SkinBetter Science’s quality controls and ability to exercise
                                                                  22   quality control over products bearing the SkinBetter Science Trademarks.
                                                                  23            131.     Defendants’ unauthorized sale of products bearing the SkinBetter Science
                                                                  24   Trademarks is likely to cause confusion, cause mistake, or deceive consumers because it
                                                                  25   suggests that the products Defendants offer are subject to and abide by SkinBetter Science’s
                                                                  26   quality controls when, in fact, they do not.
                                                                  27            132.     Defendants’ unauthorized sale of products bearing the SkinBetter Science
                                                                  28   Trademarks is likely to cause confusion, cause mistake, or deceive consumers because it

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                                                                   1   suggests that the products Defendants offer for sale are genuine SkinBetter Science products
                                                                   2   when, in fact, they are not.
                                                                   3            133.     Defendants’ unauthorized sale of products bearing the SkinBetter Science
                                                                   4   Trademarks is likely to cause confusion, cause mistake, or deceive consumers because it
                                                                   5   suggests that the products Defendants offer for sale are sponsored by, authorized by, or
                                                                   6   otherwise connected with SkinBetter Science when, in fact, they are not.
                                                                   7            134.     Defendants’ unauthorized use of the SkinBetter Science Trademarks has
                                                                   8   infringed upon and materially damaged the value of the SkinBetter Science Trademarks and
                                                                   9   caused significant damage to SkinBetter Science’s business relationships.
                                                                  10            135.     As a proximate result of Defendants’ actions, SkinBetter Science has
                                                                  11   suffered, and will continue to suffer, immediate and irreparable harm. SkinBetter Science
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                                                                  12   has also suffered, and continues to suffer, damages including, but not limited to loss of
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                                                                  13   business, goodwill, reputation, and profits in an amount to be proven at trial.
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                              LAW OFFICES




                                                                  14                     SkinBetter Science is also entitled to punitive damages because Defendants
                               602.382.6000




                                                                                136.
                                    L.L.P.




                                                                  15   acted maliciously toward SkinBetter Science or in an intentional disregard of the rights of
                                                                  16   SkinBetter Science.
                                                                  17                                   FOURTH CAUSE OF ACTION
                                                                  18                                  Common Law Unfair Competition
                                                                  19            137.     SkinBetter Science hereby incorporates the allegations contained in the
                                                                  20   foregoing Paragraphs as if fully set forth herein.
                                                                  21            138.     DermaForce is the owner of the SkinBetter Science Trademarks.
                                                                  22            139.     SkinBetter Science has registered the SkinBetter Science Trademarks with
                                                                  23   the United States Patent and Trademark Office.
                                                                  24            140.     The SkinBetter Science Trademarks are valid and subsisting trademarks in
                                                                  25   full force and effect.
                                                                  26            141.     Plaintiffs used the SkinBetter Science Trademarks before any use thereof by
                                                                  27   Defendants.
                                                                  28            142.     Defendants at no time had a license to use the SkinBetter Science Trademarks.

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                                                                   1            143.     At no time were the SkinBetter Science Trademarks assigned to Defendants.
                                                                   2            144.     Defendants willfully and knowingly used, and continue to use, the SkinBetter
                                                                   3   Science Trademarks in commerce for purposes of selling and advertising SkinBetter
                                                                   4   Science products on the Internet without the consent of SkinBetter Science.
                                                                   5            145.     The products Defendants sell and advertise bearing the SkinBetter Science
                                                                   6   Trademarks are not authorized for sale by SkinBetter Science.
                                                                   7            146.     SkinBetter Science has established and implemented legitimate and
                                                                   8   substantial quality controls with which genuine SkinBetter Science products must comply.
                                                                   9            147.     SkinBetter Science abides by these quality controls and requires all of its
                                                                  10   Authorized Physician Partners to abide by these quality controls.
                                                                  11            148.     SkinBetter Science’s quality controls are material, as they protect consumers
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                                                                  12   and prevent them from receiving tampered-with, damaged, expired, and poor quality
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                                                                  13   products.
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                                                                  14                     The products Defendants sell and advertise bearing the SkinBetter Science
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                                                                                149.
                                    L.L.P.




                                                                  15   Trademarks are not subject to, do not abide by, and interfere with SkinBetter Science’s
                                                                  16   quality controls.
                                                                  17            150.     Because the products Defendants sell and advertise bearing the SkinBetter
                                                                  18   Science Trademarks are not subject to, do not abide by, and interfere with SkinBetter
                                                                  19   Science’s quality controls, the products Defendants sell are materially different from
                                                                  20   genuine SkinBetter Science products.
                                                                  21            151.     Because the products Defendants sell and advertise bearing the SkinBetter
                                                                  22   Science Trademarks are not subject to, do not abide by, and interfere with SkinBetter
                                                                  23   Science’s quality controls, the products Defendants sell are not genuine SkinBetter Science
                                                                  24   products.
                                                                  25            152.     Defendants’ unauthorized sale and advertisement of products bearing the
                                                                  26   SkinBetter Science Trademarks interferes with SkinBetter Science’s quality controls and
                                                                  27   ability to exercise quality control over products bearing the SkinBetter Science Trademarks.
                                                                  28            153.     Defendants’ unauthorized sale and advertisement of products bearing the

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                                                                   1   SkinBetter Science Trademarks is likely to cause confusion, cause mistake, or deceive
                                                                   2   consumers because it suggests that the products Defendants offer are subject to and abide
                                                                   3   by SkinBetter Science’s quality controls when, in fact, they do not.
                                                                   4            154.      Defendants’ unauthorized sale and advertisement of products bearing the
                                                                   5   SkinBetter Science Trademarks is likely to cause confusion, cause mistake, or deceive
                                                                   6   consumers because it suggests that the products Defendants offer for sale are genuine
                                                                   7   SkinBetter Science products when, in fact, they are not.
                                                                   8            155.      Defendants’ unauthorized sale and advertisement of products bearing the
                                                                   9   SkinBetter Science Trademarks is likely to cause confusion, cause mistake, or deceive
                                                                  10   consumers because it suggests that the products Defendants offer are sponsored by,
                                                                  11   authorized by, approved by, or otherwise connected with SkinBetter Science when, in fact,
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                                                                  12   they are not.
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                                                                  13            156.      Defendants’ unauthorized use of the SkinBetter Science Trademarks has
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                                                                  14   infringed upon and materially damaged the value of the SkinBetter Science Trademarks and
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                                                                  15   caused significant damage to SkinBetter Science’s business relationships.
                                                                  16            157.      As a proximate result of Defendants’ actions, SkinBetter Science has
                                                                  17   suffered, and continues to suffer, immediate and irreparable harm. SkinBetter Science has
                                                                  18   also suffered, and continues to suffer, damages, including, but not limited to, loss of
                                                                  19   business, goodwill, reputation, and profits in an amount to be proven at trial.
                                                                  20            158.      SkinBetter Science is also entitled to punitive damages because Defendants
                                                                  21   acted maliciously toward SkinBetter Science or in an intentional disregard of the rights of
                                                                  22   SkinBetter Science.
                                                                  23                                     FIFTH CAUSE OF ACTION
                                                                  24                     Tortious Interference with Contract and Business Expectancy
                                                                  25            159.      SkinBetter Science hereby incorporates the allegations contained in the
                                                                  26   foregoing Paragraphs as if fully set forth herein.
                                                                  27            160.      SkinBetter Science has entered into contracts and/or has business
                                                                  28   expectancies with its Authorized Physician Partners to sell SkinBetter Science products.

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                                                                   1   These agreements and the SkinBetter Science Authorized Physician Partner Policy
                                                                   2   specifically prohibit SkinBetter Science’s Authorized Physician Partners from selling
                                                                   3   SkinBetter Science products to third parties, such as Defendants, for purposes of resale.
                                                                   4             161.    Defendants knew that the SkinBetter Science Authorized Physician Partner
                                                                   5   Policy and SkinBetter Science’s contracts and/or business expectancies with its Authorized
                                                                   6   Physician Partners prohibit SkinBetter Science’s Authorized Physician Partners from
                                                                   7   selling SkinBetter Science Products to third parties, such as Defendants, for purposes of
                                                                   8   resale.
                                                                   9             162.    Defendants’ were provided notice of this prohibition by at least September
                                                                  10   11, 2019, through the cease and desist letter they received from SkinBetter Science.
                                                                  11             163.    Despite this knowledge, Defendants willfully and intentionally interfered
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                                                                  12   with the SkinBetter Science Authorized Physician Partner Policy and the contracts and/or
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                                                                  13   business expectancies between SkinBetter Science and its Authorized Physician Partners
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                                                                  14   by inducing SkinBetter Science’s Authorized Physician Partners to breach their agreements
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                                                                  15   and sell products to Defendants so that they could resell them on the Internet, including
                                                                  16   through Defendants’ eBay storefront.
                                                                  17             164.    Defendants’ conduct also caused certain of SkinBetter Science’s business
                                                                  18   expectancies with Authorized Physician Partners to terminate.
                                                                  19             165.    Defendants’ conduct was improper because Defendants acquired products
                                                                  20   from Authorized Physician Partners for the purpose of reselling those products on the
                                                                  21   Internet in violation of the SkinBetter Science Authorized Physician Partner Policy and
                                                                  22   SkinBetter Science’s agreements with its Authorized Physician Partners.
                                                                  23             166.    Defendants have no legal right, privilege or justification for their conduct.
                                                                  24             167.    Defendants’ actions have caused injury to SkinBetter Science for which
                                                                  25   SkinBetter Science is entitled to compensatory damages in an amount to be proven at trial.
                                                                  26             168.    SkinBetter Science is entitled to punitive damages because Defendants acted
                                                                  27   with oppression, fraud, and malice.
                                                                  28             169.    SkinBetter Science is also entitled to punitive damages because Defendants

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                                                                   1   acted maliciously toward SkinBetter Science or in an intentional disregard of the rights of
                                                                   2   SkinBetter Science.
                                                                   3                                          PRAYER FOR RELIEF
                                                                   4            WHEREFORE, SkinBetter Science prays for relief and judgment as follows:
                                                                   5            A.       Judgment in favor of SkinBetter Science and against Defendants in an amount
                                                                   6   to be determined at trial including, but not limited to, compensatory damages, statutory
                                                                   7   damages, treble damages, restitution, including disgorgement of profits, punitive and/or
                                                                   8   exemplary damages, and pre-judgment and post-judgment interest, as permitted by law;
                                                                   9            B.       A permanent injunction enjoining Defendants and any employees, agents,
                                                                  10   servants, officers, representatives, directors, attorneys, successors, affiliates, assigns, any
                                                                  11   and all other entities owned or controlled by Defendants, and all of those in active concert
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                                                                  12   and participation with Defendants (the “Enjoined Parties”) as follows:
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                                                                  13                     i)     Prohibiting the Enjoined Parties from importing, exporting,
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                                                                  14                            displaying,    circulating,   producing,    distributing,   marketing,
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                                                                  15                            advertising, promoting, transferring, offering for sale, or selling, via
                                                                  16                            the Internet or otherwise, any products or services bearing the
                                                                  17                            SkinBetter Science Trademarks and/or any confusingly similar mark,
                                                                  18                     ii)    Prohibiting the Enjoined Parties from using any of the SkinBetter
                                                                  19                            Science Trademarks in any manner, in connection with Defendants’
                                                                  20                            goods and services, using the SkinBetter Science Trademarks in
                                                                  21                            advertising or promoting Defendants’ goods and services, and/or using
                                                                  22                            confusingly similar variations of the SkinBetter Science Trademarks
                                                                  23                            in any manner that is likely to create the impression that Defendants’
                                                                  24                            goods or services originate from SkinBetter Science, are endorsed by
                                                                  25                            SkinBetter Science, or are connected in any way with SkinBetter
                                                                  26                            Science,
                                                                  27                     iii)   Prohibiting the Enjoined Parties from disposing of, destroying,
                                                                  28                            altering, moving, removing, concealing, or tampering with any records

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                                                                   1                            related to any products sold by them which contain the SkinBetter
                                                                   2                            Science Trademarks including: invoices, correspondence with vendors
                                                                   3                            and distributors, bank records, account books, financial statements,
                                                                   4                            purchase contracts, sales receipts, and any other records that would
                                                                   5                            reflect the source of the products that Defendants have sold bearing
                                                                   6                            these trademarks,
                                                                   7                     iv)    Requiring the Enjoined Parties to take all action to remove from the
                                                                   8                            Enjoined Parties’ websites any reference to any of SkinBetter
                                                                   9                            Science’s products, or any of the SkinBetter Science Trademarks,
                                                                  10                     v)     Requiring the Enjoined Parties to take all action, including but not
                                                                  11                            limited to, requesting Internet search engines (such as Google, Yahoo!,
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                                                                  12                            and Bing) remove from the Internet any of the SkinBetter Science
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                                                                  13                            Trademarks which associate SkinBetter Science’s products or the
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                                                                  14                            SkinBetter Science Trademarks with the Enjoined Parties or any
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                                                                  15                            website controlled by the Enjoined Parties,
                                                                  16                     vi)    Requiring the Enjoined Parties to take all action to remove the
                                                                  17                            SkinBetter Science Trademarks from the Internet, including from the
                                                                  18                            website www.eBay.com;
                                                                  19            C.       An award of attorneys’ fees, costs, and expenses pursuant to 15 U.S.C. §
                                                                  20   1117, and to the extent recoverable by any other applicable law; and
                                                                  21            D.       Such other and further relief as the Court deems just, equitable and proper.
                                                                  22                                             JURY DEMAND
                                                                  23            Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand a
                                                                  24   trial by jury on all issues so triable.
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                                                                   2            DATED this 3rd day of October, 2019.
                                                                   3                                                      SNELL & WILMER L.L.P.
                                                                   4
                                                                   5                                                   By: s/ Rachael Peters Pugel
                                                                                                                           Andrew F. Halaby
                                                                   6                                                       Rachael Peters Pugel
                                                                                                                           One Arizona Center
                                                                   7                                                       400 E. Van Buren, Suite 1900
                                                                                                                           Phoenix, Arizona 85004-2202
                                                                   8                                                       Attorneys for Plaintiffs
                                                                   9
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